        Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 1 of 17




                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION

 EQUAL EMPLOYMENT OPPORTUNITY                        §
 COMMISSION,
                        Plaintiff,

 AND

 ALFREDO GARCIA, ANA TREVINO,
 FRANCISCO ANDRADE, JOSE
 ARREAZA, AVILIO ARRIAZA, ALMA
 BALDERAS, ANGELICA CORTES,
 ISRAEL FLORES, JOSE FLORES,
 VICTOR FLORES, MIGUEL GAMEZ,                        § NO: 5:18-CV-00990-JKP
 THOMAS GALVAN, VICTOR GUEVARA,
 ADRIAN GUILLEN, CLEOFAS HINOJOSA,                   §
 SERGIO IRETA, JAIME LEAL, VERONICA                  §
 NAVARRETE, MIGUEL PEREZ, ERICK                      §
 RUIZ, ERNESTO VASQUEZ RUBIO,
 GUILLERMO VITELA, AND SERGIO
 VITELA,

                      Plaintiff-Intervenors,

 vs.

 DH SAN ANTONIO MANAGEMENT, LLC, §
 ET AL.,

                      Defendants.

                                      CONSENT DECREE

       The EEOC initiated this lawsuit under Title VII of the Civil Rights Act of 1964, as

amended, and Title I of the Civil Rights Act of 1991, to correct allegations of unlawful employment

practices including national origin discrimination and retaliation and to provide appropriate relief

to the below described Class Members who were adversely affected by such practices. More

specifically, the EEOC alleged that the Defendants subjected the Class Members to a hostile work
           Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 2 of 17




environment because of their national origin (Hispanic), subjected the class members to disparate

treatment based on their national origin, subjected the Class Members to an unlawfully broad and

aggressively enforced speak English-only policy, and retaliated against them after they engaged in

protected activities. The above-named individuals intervened in the EEOC's lawsuit and asserted

the same causes of action as alleged by the EEOC under Title VII. Defendants deny all of the

Commission's allegations in the complaint.

          The Parties wish to settle this action pursuant to the terms delineated in this Consent

Decree, with each party expressly acknowledging that this settlement is a compromise of disputed

claims.

          IT IS ORDERED, ADJUDGED AND DECREED as follows:

                                     I. GENERAL PROVISIONS

A.        The Parties: As used in this consent decree ("Consent Decree"), the following terms shall

          apply and the term Parties shall refer collectively to the entities and individuals as indicated

          in section (6) below:

                 (1)      The U.S. Equal Employment Opportunity Commission (hereinafter
                          "EEOC" or "Commission");

                 (2)      Francisco Andrade, Jose Arreaza, Avilio Arriaza, Alma Rosa Balderas,
                          Angelica Cortes, Israel Flores, Jose Flores, Victor Flores, Thomas Galvan,
                          Miguel Gamez Alfredo Garcia, Victor Guevara, Adrian Guillen, Cleofas
                          Hinojosa, Sergio Ireta, Jaime Leal, Veronica Navarrete, Sergio Paz, Miguel
                          Perez, Erick Ruiz, Ana Trevino, Ernesto Armando Vasquez Rubio,
                          Guillermo Vitela, and Sergio Vitela (hereinafter the "Intervenors");

                 (3)      David Rodriguez (hereinafter "the additional Aggrieved Individual");

                 (4)      The Intervenors and the additional Aggrieved Individual are collectively
                          referred to as (the "Class Members");

                 (5)      DH San Antonio Management, LLC and Destination Hotels and Resorts,
                          Inc., (collectively the "Defendants");
      Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 3 of 17




            (6)     The EEOC, the Intervenors, and the Defendants are collectively referred to
                    as (the "Parties").


B.   Scope of Agreement:        The Parties agree that this Decree resolves all claims and issues

     raised by the EEOC and Intervenors in this civil action. The EEOC waives further litigation

     of all claims raised in the above-referenced Complaint. The EEOC will not use the Charges

     relating to this lawsuit as the jurisdictional basis for filing any other lawsuit or lawsuits

     against the Defendants, and this Decree is intended to be the complete resolution of such

     Charges and of this lawsuit.

C.   Without Prejudice to Other Charges: The Parties agree that with the settlement of the

     above-identified claims, the EEOC does not waive, or in any manner limit, its right to

     process or seek relief in any other charge or investigation, including but not limited to, a

     charge filed by a member of the Commission against Defendants.

D.   Binding Agreement: The terms of this Consent Decree shall be binding upon all identified

     Parties to this Agreement and their respective agents, officers, employees, servants,

     successors, and assigns.

E.   Employment Practices: During the term of this Consent Decree, Defendants are enjoined

     from discriminating against any employee or applicant for employment on the basis of

     national origin, in violation of Title VII. Specifically, Defendants shall not (1) engage in

     or be a party to any action, policy, or practice (including an English-only policy or rule

     which is contrary to the EEOC' s Enforcement Guidance on National Origin

     Discrimination, Section V. C. (No. 915.005 November 18, 2016) that has the intent or

     effect of discriminating against, harassing, or intimidating any employee or applicant on

     the basis of national origin; (2) discipline, demote, or discharge any employee on the basis



                                                                                                3
       Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 4 of 17




     of national origin; (3) implement or enforce a policy or other rule prohibiting the speaking

     of Spanish or requiring employees to speak only the English language during working

     hours, unless such policy or rule is job-related and consistent with business necessity; and

     (4) will not create, facilitate, or permit the existence of a work environment that is hostile

     to Hispanic employees specifically, or any employees generally, on the basis of national

     origin.

F.   Retaliation Prohibited:      Defendants further are enjoined against retaliating against the

     Class Members or any employee or applicant for employment (by for example discharging,

     demoting, or harassing) (1) for opposing any employment practice made unlawful by Title

     VII; (2) for complaining about, reporting, or otherwise opposing any employment practice

     or policy believed to constitute national origin discrimination, retaliation, or other

     unlawful discrimination; or (3) for filing a charge, giving testimony or assistance, or

     participating in any manner in any investigation, proceeding, hearing, or action under Title

     VII.

G.   The Parties agree that this Court has jurisdiction of the subject matter of the claims and

     causes of action asserted by the EEOC and the Intervenors against the Defendants, venue

     is proper, and all administrative prerequisites to the filing of the complaints have been

     met.

H.   Defendants shall bear the costs associated with administering and implementing the

     provisions of this Decree.

      EMPLOYMENT POLICY AND PRACTICES TERMS AND PROVISIONS

A.   Policy Prohibiting National Origin Discrimination and Retaliation: Within thirty (30)

     days of the effective date of this Agreement, Defendants shall adopt and implement a policy,



                                                                                                 4
       Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 5 of 17




     to the extent not already in place, that prohibits discrimination based on national origin and

     retaliation ("EEO Policy") that meets all of the following criteria:

             (1)     States that Defendant(s): (a) prohibits discrimination against employees and
                     applicants on the basis of national origin and retaliation, in violation of Title
                     VII; (b) prohibits retaliation against employees and applicants who raise
                     concerns, report or oppose employment practices they believe are
                     unlawfully discriminatory and/or who participate in inquiries or
                     investigations of a complaint of discrimination under Title VII; (c) prohibits
                     any act, policy, or practice that has the effect of discriminating against,
                     harassing, or intimidating any employee or applicant on the basis of national
                     origin, in violation of Title VII; (d) prohibits the implementation and
                     enforcement of an English-only policy or rule, either verbally or in writing
                     unless such policy or rule is job-related and consistent with business
                     necessity; and (e) prohibits any act, policy, or practice that has the effect of
                     creating, facilitating, or permitting the existence of a work environment that
                     is hostile or abusive to employees based on national origin, in violation of
                     Title VII;

              (2)    Defines national origin discrimination, harassment, and retaliation;

              (3)    Provides that the complaints of discrimination, harassment, and/or
                     retaliation can be made either in writing or verbally;

              (4)    Provides for prompt investigation of any discrimination, harassment, and/or
                     retaliation complaints and for prompt remedial action, which is appropriate
                     and effective, to remedy the discrimination;

              (5)    Provides for discipline for violating Defendants' policy, up to and including
                     discharge; and

              (6)    Requires all supervisors to report incidents of discrimination, harassment,
                     and/or retaliation to any other supervisors, managers or officers charged
                     with investigating discrimination complaints.

B.    Complaint Procedures:        Within thirty (30) days of the effective date of this Consent

      Decree, Defendants shall adopt and implement a complaint procedure that is designed to

      encourage employees to come forward with complaints regarding violations of the EEO

      Policy, described in Paragraph II(A) above (hereinafter "Complaint Procedures").

      Defendants' Complaint Procedures shall provide all of the following:



                                                                                                     5
      Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 6 of 17




            (1)     Simple, convenient, confidential, and reliable mechanisms for reporting
                    incidents of national origin discrimination, harassment, and retaliation;

            (2)     Prompt investigation of complaints of any discrimination, harassment,
                    and/or retaliation;

            (3)     An effective means of promptly communicating to the complaining party
                    the results of the investigation;

            (4)     Appropriate remedial action to resolve the complaint and to deter future
                    incidents of discrimination, harassment, and/or retaliation; and

            (5)     Assurances that the complainant(s) shall not be subjected to intimidation,
                    harassment, and/or retaliation.

            Within thirty (30) days of the effective date of this Consent Decree, Defendants

     shall distribute the EEO Policy and Complaint Procedures to all of its current employees

     at their San Antonio resort facility. Defendants shall certify in writing to the EEOC within

     forty-five (45) days of the effective date of this Consent Decree that it has complied with

     this provision. Furthermore, during the remaining term of this Consent Decree, Defendants

     shall continue to distribute their EEO Policy and Complaint Procedures to each employee

     hired during the term of this Agreement. Defendants shall certify in writing to the EEOC

     within thirty (30) days of each annual anniversary of the effective date of this Agreement

     that Defendants have provided a copy of these policies to all employed during the year of

     that annual anniversary.

            During the term of this Consent Decree, Defendants shall provide the EEOC with

     written notice in the event that Defendants make any substantive revisions to the EEO

     Policy or Complaint Procedures set forth in this Consent Decree.

C.   National Origin Discrimination and Retaliation Training: Within ninety (90) days of

     the effective date of this Consent Decree, Defendants shall provide no less than two (2)

     hours of Equal Employment Opportunity training to all of their current employees at their


                                                                                                6
 Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 7 of 17




San Antonio resort facility, including all managerial and human resources employees. This

training shall provide guidance on what conduct constitutes unlawful employment

practices under Title VII, including but not limited to, Title VII's prohibitions against

national origin discrimination, harassment, and retaliation. The training shall include:

       (1)     a legally sufficient definition of national origin discrimination, harassment,
               and retaliation;

       (2)     examples of comments and conduct that alone, or together, might constitute
               national origin discrimination, harassment, and retaliation;

       (3)     a thorough review of the circumstances when English-only policies or rules
               violate Title VII, including a review of the EEOC' s Enforcement Guidance
               on National Origin Discrimination, Section V. C. (No. 915.005 November
               18, 2016);

       (4)     Defendants' complaint procedures, practices, and programs;

       (5)     the damaging effects that discrimination causes to victims, their families
               and co-workers, and the workplace environment; and

       (6)     the training for managerial and human resources employees shall
               additionally include training on how to receive, investigate, or report to
               designated officials complaints of national origin discrimination and
               retaliation; and how to take preventive and corrective measures against
               discrimination and any subsequent retaliation. The training of managerial
               employees shall also sensitize managers to subtle complaints of
               discrimination and retaliation and how to properly identify and address such
               complaints; instruct managers of their responsibility to promptly info' in the
               human resources department of all complaints; and instruct managers on the
               prohibition against retaliation.

       The training shall be in person. The training shall be conducted by an experienced

outside consultant or an attorney licensed in the State of Texas who specializes in

employment law. The consultant or attorney selected shall send a copy of the training

presentation and outline to the EEOC at least fifteen (15) days before the first training

session occurs.




                                                                                            7
      Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 8 of 17




             The purpose of the training shall be to give the participants a thorough

     understanding of workplace discrimination, harassment, and retaliation, (including a

     focused component on national origin discrimination and harassment), and Defendants'

     obligations and commitments to prevent and correct such in the workplace.

             Defendants will conduct a one-hour refresher training once every twelve (12)

     months after the first training is completed. All newly-hired employees, supervisors,

     managers, and human resources employees and recruiters shall review a videotaped

     training within thirty (30) days of their hire date if the annual training does not occur before

     then.

             For each annual training session conducted under this Section, Defendants shall

     generate a registry containing the dates of training and the signatures of all persons in

     attendance. Each registry shall be retained by Defendants for the duration of the Consent

     Decree, and such registry shall be provided to the EEOC, if requested.

D.   Recordkeeping: For the term of this Consent Decree, Defendants shall maintain a written

     log of all complaints of national origin discrimination, harassment, and/or retaliation. This

     log will include the results of all investigations into complaints of national origin

     discrimination, harassment, and/or retaliation. Defendants will submit copies of these logs

     to the EEOC upon request.

E.   Posting: Within ten (10) days of the effective date of this Consent Decree, Defendants

     shall post copies of the Notice to All Employees, attached as Exhibit A (hereinafter

     "Notice"), at Defendants' San Antonio resort facility, in a conspicuous location easily

     accessible to and commonly frequented by employees. The Notice shall remain posted for

     the duration of this Consent Decree. Defendants shall ensure that the posting is not altered,



                                                                                                   8
      Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 9 of 17




     defaced, or covered by any other material. Defendants shall certify in writing to the EEOC

     within twenty (20) days of the effective date of this Consent Decree that it has complied

     with this provision.

               III. MONETARY RELIEF FOR THE CLASS MEMBERS

A.   Total Payment and Distribution: Defendants shall pay a total sum of $2,625,000.00 (two

     million, six hundred and twenty-five thousand dollars, and zero cents) in monetary relief

     to the Class Members. The amount of each individual payment will be determined and

     agreed upon by the EEOC and Intervenors' counsel. Such amounts for distribution shall be

     in accordance with communications to be set forth by the EEOC and Intervenors' counsel

     to Defendants. Payment shall be made within forty-five (45) days of the Court's adoption

     of this decree.

B.   Tax Treatment For Monetary Relief: For each payment to be made to Class Members

     David Rodriguez, Victor Flores, Thomas Galvan, Alfredo Garcia, Victor Guevara, Adrian

     Guillen, Miguel A. Gamez, and Ernesto Vasquez Rubio, twenty (20) percent of the total

     settlement amount, (after deduction of attorney's fees and costs), shall be designated as

     back pay that is subject to applicable legal deductions for the employee's share of federal

     withholdings (thus requiring an IRS Form W-2). For each payment to the remaining class

     members not specifically named above in this section, ten (10) percent of the total

     settlement amount, (after deduction of attorney's fees and costs), shall be designated as

     back pay that is subject to applicable legal deductions for the employee's share of federal

     withholdings (thus requiring an IRS Form W-2). For each Class Member receiving

     payment, the remaining percentage or amount of monetary relief, less attorneys' fees to be

     provided by Intervenor's counsel, will be to satisfy other claims for damages which are not



                                                                                               9
     Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 10 of 17




     subject to withholding and for which Defendant DH San Antonio Management, LLC will

     issue an IRS Form 1099. The amount of the attorneys' fees paid to Intervenor's counsel

     shall be listed in the above-mentioned communications from EEOC and Intervenors'

     counsel to Defendants. Defendants shall send the check(s) by a method confirming receipt

     to the Intervenors c/o Javier Espinoza, ESPINOZA LAW FIRM, PLLC, 10202 Heritage

     Boulevard, San Antonio, Texas 78216 and the Aggrieved Individual c/o David Rodriguez

     at an address to be provided by the EEOC. Defendants agree to provide written notice to

     the EEOC within ten (10) days of satisfying these obligations.

C.   Neutral Employment Reference: In responding to oral or written reference inquiries from

     prospective employers, Defendants shall provide only the Class Members (1) positions

     held during their employment, and (2) the dates of their employment. Defendants will not

     refer to this Consent Decree or issues underlying it, or state that Defendants are constrained

     by any agreements. Defendants shall only explain that any limitation on additional

     information is pursuant to company policy.

                                    IV. COMPLIANCE

A.   Commission Review:        During the term of this Consent Decree, the EEOC may review

     Defendants' compliance with this Consent Decree. As a part of such review, the EEOC

     may require written reports regarding compliance, inspect Defendants' premises at

     reasonable times and with reasonable notice so that counsel may be present, interview

     employees, and examine and copy relevant documents.

B.   Non-Compliance Notice and Enforcement Procedure:

            (1)     If the EEOC has reason to believe that Defendants have not complied with

                    any term or provision of this Consent Decree, the EEOC shall provide



                                                                                                 10
Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 11 of 17




           written notice of the alleged non-compliance ("Notice of Alleged

           Violation") prior to taking any action thereon. The Notice of Alleged

           Violation shall include the section(s) and paragraph(s) of this Decree

           alleged to be violated and a statement of the facts and circumstances relied

           upon as the basis for the EEOC' s claim of non-compliance.

     (2)   Defendants shall have fifteen (15) days from receipt of the Notice of

           Alleged Violation to respond to the EEOC regarding the alleged violation,

           during which time the EEOC shall not undertake any enforcement action.

           The fifteen (15) day period may be extended by written agreement of the

           EEOC and Defendants.

     (3)   If the EEOC and Defendants are unable to resolve their dispute regarding

           the alleged violation, then the EEOC may seek enforcement of this Consent

           Decree with respect to the alleged violation in the United States District

           Court for the Western District of Texas, San Antonio Division. During the

           five years following the Effective Date of this Consent Decree, the Court

           retains jurisdiction to enforce the terms of the Consent Decree.

     (4)   Designation of EEOC Representative: When this Consent Decree requires

           Defendants to submit documents or other materials to the EEOC, such

           documents or other materials shall be mailed to the U.S. Equal Employment

           Opportunity Commission, San Antonio Field Office, c/o Eduardo Juarez,

           5410 Fredericksburg Road, Suite 200, San Antonio, Texas 78229-3555.

     V. EFFECTIVE DATE AND DURATION OF AGREEMENT




                                                                                     11
       Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 12 of 17




A.     Duration: The term of this Consent Decree shall be two (2) years, commencing on the

       date upon which the Court enters this Consent Decree (the "effective date").

B.     Effective Date: This Consent Decree shall become final and effective for all purposes upon

       approval and entry by the Court. The "effective date" shall be utilized for the calculation

       of all time periods and actions required pursuant to this Agreement.


SO ORDERED.

Signed this     day of         ,2019.




                                             JASON PULLIAM
                                             United States District Judge




                                                                                                12
        Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 13 of 17



AGREED TO AS TO FORM AND SUBSTANCE:

Approved on Behalf of the Commission:

                                          SHARON FAST GUSTAFSON
                                          General Counsel

                                          JAMES LEE
                                          Deputy General Counsel

                                          GWENDOLYN YOUNG REAMS
                                          Associate General Counsel
                                                                        0
                                            P-c) .- -- 3/4-- A- C., ,-0

                                          ROBERT A. CANINO
                                          Regional Attorney
                                          Oklahoma Bar No. 011782




                                          EDWARD JUAREZ
                                          Supervisory Trial Attorney
                                          Texas Bar No. 24019498




                                          PHILIP MOSS
                                          Trial Attorney
                                          Texas State Bar No. 24074764
                                          Email: philip.moss@eeoc.gov

                                          EQUAL EMPLOYMENT
                                          OPPORTUNITY COMMISSION
                                          San Antonio Field Office
                                          5410 Fredericksburg Rd., Suite 200
                                          San Antonio, Texas 78229-3555
                                          Telephone:(210) 281-7636
                                          Facsimile:(210) 281-7669
 I o / .25 / 2 0/ I
Date




                                                                               13
          Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 14 of 17



Approved on Behalf of the Intervenors:

                                                       Pio*,    1.7   elk" vv.% tw,   ArC

  to//          26/9
                                               vt er
Date                                     Javier Espinoza
                                         Counsel for Intervenors



Approved on Behalf of the Defendants:
                                                                                      e—,
  jo     .251     o4-(
                                            141 ,c1tav(    D,   POPrAd
Date                                     Michael DePonte
                                         Counsel for Defendants




                                                                                            14
       Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 15 of 17




                                        EXHIBIT A

                        NOTICE TO ALL EMPLOYEES
This NOTICE is being posted pursuant to a Consent Decree entered by the U.S. District
Court for the Western District of Texas, (EEOC v. DH San Antonio Management, LLC, et
at., 5:18-CV-990 JKP). This NOTICE will be conspicuously posted for a period of two (2)
years at this facility. It must not be altered, defaced, or covered by any other material.

POLICY:          Discrimination of any kind can and often will detract from employees' job
performance, discourage employees from remaining on the job, keep employees from advancing
in their careers, and lower overall employee morale and productivity. It is the policy of DH San
Antonio Management, LLC, ("La Cantera") that discrimination based on national origin and/or
retaliation is unacceptable and will not be condoned. This is a zero tolerance policy.

PURPOSE: It is the purpose of this policy to reaffirm and amplify the position of Title VII of
the Civil Rights Act of 1964, as amended, and the Equal Employment Opportunity Commission's
guidelines on discrimination based on national origin and/or retaliation and to reiterate La
Cantera's policy on national origin-based discrimination, including harassment, and retaliation as
defined by Title VII.

SCOPE: This policy extends to all employees of La Cantera, including management, non-
management, and temporary/probationary employees.

DEFINITION: National origin discrimination means treating someone less favorably because he
or she comes from a particular place, because of his or her ethnicity or accent, or because it is
believed that he or she has a particular ethnic background. National origin discrimination also
means treating someone less favorably at work because of marriage or other association with
someone of a particular nationality. Examples of violations covered under Title VII include:

•      Employment Decisions: Title VII prohibits any employment decision, including
       recruitment, hiring, and firing or layoffs, based on national origin;

•      Harassment: Title VII prohibits offensive conduct, such as ethnic slurs, that create a
       hostile work environment based on national origin. Employers are required to take
       appropriate steps to prevent and correct unlawful harassment. Likewise, employees should
       report harassment as soon as they become aware of it;

•      English-Only Rules: A restrictive language policy violates Title VII if it is adopted for
       discriminatory reasons, such as bias against employees of a particular national origin. Thus,
       it would be unlawful disparate treatment to implement an English-only policy to avoid
       hearing foreign languages in the workplace, to generate a reason to discipline or teiminate
       people who are not native English speakers, or to create a hostile work environment for
       certain non-English speaking workers. Evidence of disparate treatment includes failure to
       consider whether there are substantial business reasons for the policy. The weaker the

                                                                                                 15
        Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 16 of 17




        business reasons, the more difficult it may be to justify the policy under Title VII. In
        addition, a facially neutral restrictive language policy may violate Title VII if it causes a
        disparate impact on the basis of national origin and is not job-related and consistent with
        business necessity; and

•       Accent discrimination: An employer may not base a decision on an employee's foreign
        accent unless the accent materially interferes with job performance.

This list is by no means exhaustive. There are other forms of national origin discrimination.

Nevertheless, an English-Only policy may be permissible and proper, at times, when such a policy
or rule is job-related and consistent with business necessity. EEOC's Enforcement Guidance on
National Origin Discrimination. Section V. C. (No. 915.005 November 18, 2016).

DEFINITION: Retaliation is the punishment of an employee for engaging in a protected activity,
such as reporting discriminatory conduct, filing a discrimination charge, opposing unlawful
employer practices, and/or testifying, assisting, or participating in any manner in an investigation,
proceeding, or hearing under Title VII. Some examples of retaliation may include:

    •   Suspension;
    •   Reduction of pay;
    •   Discharge;
    •   Reassignment of job duties;
    •   Reduction of work hours;
    •   Reassignment to a different work shift;
    •   Intimidation; and/or
    •   Any action that would dissuade a reasonable employee from engaging in a protected
        activity as defined by Title VII.

RESPONSIBILITY: Each level of management is responsible for ensuring that all personnel
policies, procedures, and activities are in full compliance with applicable federal, state, and local
equal employment laws, statutes, rules, and regulations regarding discrimination. All employees
are expected to read, understand, and follow La Cantera's Policy Prohibiting National Origin
Discrimination and Retaliation.

REPORTING PROCEDURES: Supervisors who receive complaints will promptly notify a
manager or Human Resources representative who is responsible for addressing and investigating
complaints of discrimination. A person either alternatively, or in addition to reporting such an
allegation to company officials, may contact the U.S. Equal Employment Opportunity
Commission for the purposes of filing a charge of employment discrimination. The address and
telephone number of the U.S. EEOC office is 5410 Fredericksburg Road, Suite 200, San Antonio,
Texas 78229, (866) 408-8075. Information about your rights and how to file a charge is available
on the Internet at www.eeoc.gov.




                                                                                                   16
       Case 5:18-cv-00990-JKP Document 25-1 Filed 10/25/19 Page 17 of 17




INVESTIGATION OF COMPLAINTS: A complete investigation of each complaint will be
undertaken immediately by La Cantera's Human Resources Department. The investigation may
include interviews of employees and supervisors at the facility.

PUNISHMENT FOR VIOLATION: Employees, including supervisors and managers, who
engage in national origin-based discrimination, including but not limited to, harassment and/or
retaliation, can expect serious disciplinary action. After an appropriate investigation, any
employee, whether management or non-management, who has been found to have discriminated
against another employee will be subject to appropriate sanctions, depending on the circumstances,
up to and including termination of employment.

RETALIATION: There shall be no retaliation against any employee because that person has
opposed what they believe to be unlawful employment practices, or has filed a charge of
discrimination, or has given testimony, assistance, or has participated in any manner in any
investigation, proceeding, or hearing under Title VII of the Civil Rights Act of 1964. La Cantera
will not punish you for reporting national origin-based discrimination, including harassment,
and/or retaliation simply because you have made a complaint under the above guidelines.


Signed this         day of                            ,2019.




                                     DH San Antonio Management LLC




                                                                                               17
